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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

   CARLY BITTLINGMEYER, Indiv. and                   CLASS ACTION
   on behalf of all others similarly situated,
                                                     CIVIL ACTION NO. 22-CV-61804-WPD
                          Plaintiff,

                  v.

   TRULIEVE, INC.,
                          Defendant.


                            DEFENDANT, TRULIEVE, INC.’S,
                       MOTION FOR JUDGMENT ON THE PLEADINGS

         Pursuant to Rule 12(c) of the Federal Rules of Civil Procedure, Defendant Trulieve, Inc.

  (“Trulieve”) moves this Court for the entry of an Order dismissing Plaintiff’s, Carly Bittlingmeyer,

  individually and on behalf of others similarly situated, (“Plaintiff”), Complaint) (ECF No. 1, the

  “Complaint”) without prejudice for lack of subject matter jurisdiction.

         The bases for this Motion are more fully set forth in the accompanying Memorandum of

  Law, which is incorporated herein by reference.

         WHEREFORE, Defendant respectfully prays that its Motion be granted, that Plaintiff’s

  Complaint be dismissed without prejudice, and that the Court award any other and any other further

  relief as the Court deems appropriate.

         Oral argument is requested.
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  Dated: March 3, 2023

                                     GRIESING MAZZEO LAW, LLC


                                 By: /s/ Julie Negovan_____________
                                     Julie Negovan
                                     R. Keith Petersen
                                     Atty. I.D. Nos. 121450; 1038461
                                     6750 North Andrews Avenue, Suite 200
                                     Fort Lauderdale, FL 33309
                                     (215) 618-3720
                                     jnegovan@griesinglaw.com
                                     kpetersen@griesinglaw.com
                                     Attorney for Defendant Trulieve, Inc.




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